-

 

Reporte: 9/21/2022

 

Nombre

Cantidad

ENTREGO

 

 

REDACTED

MARIASARAVA(LOLLY)

REDACTED

$68,907.00

(36,096.00)

$4,290.00

$20,000.00

$5,400.00

“$615,000.00

$237,583.00
$20,750.00
_ $78,888.00

20200.

$42,330.00

$66,537.00
$351,709.00

__ $598.00

$33,566.00
$65,550.00

$252,018.00

_ $1,020.00

$181,890.00

"$2,030.00

$113,540.00

$304,195.00

EXHIB

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$50,700.00

$150,970.00

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